 Case 8:20-cv-00269-DOC-JDE Document 7 Filed 02/12/20 Page 1 of 3 Page ID #:101



     COOLEY LLP
     MAZDA K. ANTIA (214963)
 2    mantia@cooley.com)
      401 Eastgate Mall
 3   San Die o CA 92121
     Phone: ~8)550-6000
4    Fax:(8 8)550-6420
 5  MATTHEW D. CAPLAN (260388)
   (mcaplan@cooley.com)
 6 101 California Street, 5th Floor
    San Francisco, CA 94111
 7 Phone:(415)693-2000
   Fax:(415)693-2222
 8
    Atto~ney_sfog Defendants Cigna Corporation,
 9 Cigna Health and Life InsuYance Co., Connecticut
    General Life Insurance Co., Ci na Behavioral
10 Health, Inc., Cigna Behavioral~ealth ofCalifornia,
   Inc., and Cigna Health Management, Inc.
11
12                         UNITED STATES DISTRICT COURT
13               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
14                                            Case No.8:20-cv-0269
     TML RECOVERY,LLC,a California
15   limited liability company,
                                              PROOl~' OF SERVICE
16                        Plaintiff,
           ►~~
17
     GIGNA CORPORATION
18   a Delaware corporation; C~GNA
     HEALTH AND LIFE INSURANCE
19   COMPANY, a Connecticut
     corporation; CONNECTICUT
20   GENERAL LIFE INSURANCE
     COMPANY, a Connecticut
21   corporation• CIGNA BEHAVIORAL
     HEALTH, ANC. a Minnesota
22   corporation• CIU~'NA BEHAVIORAL
     HEALTH aF CALIFORNIA INC.,
23    a California corporation; CIG~1A
     HEALTH MANAGEMENT, INC.
24    a Delaware corporation; VIANT, I~1C.,
      a Nevada corp~o~ration; MULTIPLAN,
25   INC., a New York corporation; and
     DOES 1 through 25, inclusive,
26
                             Defendants.
27
28
                                                                      PROOF OF SERVICE
 Case 8:20-cv-00269-DOC-JDE Document 7 Filed 02/12/20 Page 2 of 3 Page ID #:102



                                     PROOF'OF SERVICE
 2          I am a citizen of the United States and a resident of the State of California. I am
 3   employed in San Diego County, California, in the office of a member of the bar of this
 4   Court, at whose direction the service was made. I am over the age of 18 years and not
 5   a party to this action. My business address is Cooley LLP, 4401 Eastgate Mall, San
 6   Diego, California 92121. On February 11, 2020, I served the following documents on
 7   the parties listed below in the manners)indicated:
 8          NOTICE TO PLAINTIFF AND CLERK OF REMOVAL OF ACTION
            TO FEDERAI. COURT (filed in Orange~ County Superior Court
 9          Case No. 30-2019-01121297-CU-BC-NJC)
10      ❑     (BY U.S. MAIL) I am personally and readily familiar with the business
               ractice of Cooley LLP for collection and processing of correspondence
11            ~or mailin with the United States Postal Service, and I caused such
              envelope(s~ with postage thereon fully, repaid to be placed in the United
12            States Postal Service at San Diego, California.
13      ❑
        x     (BY MESSENGER SERVICE) by consigning the documents) to an
              authorized courier and/or process server for hand delivery on this date.
14
        ❑     (BY FACSIMILE) I am personally and readily familiar with the business
15            practice of Cooley LLP for collection and processing of documents)to be
              transmitted by facsimile and I caused such documents) on this date to be
1C            transmitted by facsimile to the offices of addressees) at the numbers listed
              below.
17
        ❑     (BY OVERNIGHT MAIL) I am personally and readily familiar with the
18            business practice of Cooley LLP for collection and processing of
              comespondence for overnight delivery, and I caused such document(s)
19            described herein to be deposited for delivery to a facility regularly
              maintained by                for overnight delivery.
20
        ❑     (BY ELECTRONIC MAIL)I am personally and readily familiar with the
21            business practice of Cooley LLP for the preparation and processing of
              documents in portable document format(PDF)for e-mailing and I caused
22            said documents to be prepared in PDF and then served by electronic mail
              to the parties listed below.
23
24
25
2h
27
28

                                                2                              PROOF OF SERVICE
 Case 8:20-cv-00269-DOC-JDE Document 7 Filed 02/12/20 Page 3 of 3 Page ID #:103



 1    Callahan &Blaine, APLC                   Attorneys for Plaintiff
 2    Daniel J. Callahan 91490)
      Edward Susolik(. 1 ~10$1)
 3    Richard T. Collins(166577)
      Damon D. Eisenbrey ~215927)
 4    Adrian L. Canzoneri( 65168)
      3 Hutton Centre Drive, Ninth Floor
 5    Santa Ana, California 92707
      Phone:(714)241-4444
 6    Fax:(714)241-4445

 7   Corporation Service Company               Registered service agent for Viant, Inc.
     Which Will Do Business in
 8   California as CSD —Lawyers
     Incorporating Service
 9   2710 Gateway Oaks Drive
     Suite 150N
10   Sacramento, California 95033

11    Cor~poration Service Company             Registered service agent for Multiplan, Inc.
      80 State Street
12    Albany, New York 12207-2543

13
14         I declare under penalty of perjury under the laws of the State of California and
15   the United States of America that the above is true and correct.
16         Executed on February 11, 2020, at San        o, California.
17
18                                                          Marcie Araujo
19
20
21
22
23
24
25
26
27
28

                                              3                              PROOF OF SERVICE
